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Q`\Q> rN THE UNITED STATES DISTRICT c opm gm __ 7 m '
Q FOR THE NORTHERN DISTRICT OF '[`E)»S ._; f
DALLAS DIvIsIoN ' ""
CL DlsTRICT couRT
LI;BRADo AGUILAR and JosE § B’ Depmy
GUADALUPE GONZALEZ ROl\/[ERO, §
on their behalf and on behalf of those §
similarly situated, § Civil Action No. 3104-CV-0776-D
§
Plaintiffs, §
§
VS. §
§
COl\/[PLETE LANDSCULPTURE, INC., §
et al., §
§
Defendants. §
MEMORANDUM OPINION
AND ORDER

 

Plaintiffs Librado Aguilar and Jose Guadalupe Gonzalez Romero, on their behalf and on
behalf of those similarly situated, bring this putative collective action under 29 U.S.C. § 216(b), a
provision of the Fair Labor Standards Act (“FLSA”), to recover unpaid overtime pay. They move
for notice to potential class members and discovery of their contact information For the reasons that
follow, the court grants the motion in part and denies it in part

I

Plaintiffs sue defendants Complete Landsculpture, Inc., Complete Landsculpture Properties,
LLC, Complete Landsculpture of Texas, LP, and Chris Strempek (“Strempek”) (“collectively,
“Complete”), alleging that they violated 29 U. S.C. § 207(a) by failing to pay overtime compensation
to them and other similarly-situated Complete employees Plaintiffs allege that Complete
circumvented payment of overtime compensation for landscaping and general labor by following a

“block rate” payment scheme According to plaintiffs’ second amended collective action complaint

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(“complaint”), Complete’s “block rate” worked as follows A ten hour shift was a “block” or “day.” “
Plaintiffs worked from 7 a.m. to 5 p.m., which counted as one “block,’;:vfor which they were paid
approximately $100. Any time worked in excess of that shift was credited toward another “block.”
It was thus possible for an employee to work more than seven “blocks” or “days” in a given week.
Complete employees were effectively paid $10 per hour ($100 + 10 hours), with no overtime
compensation 2d Am. Compl. 1111 12-13_ Complete employees normally worked Monday through
Sunday from approximately 7 a.m. to 6 or 7 p.m., resulting in a work week in excess of
approximately 80 hours. Ia'. at 11 ll.

Plaintiffs seek to certify an opt-in class consisting of all current and former Complete
employees who were paid using the “block rate” scheme during the time period of April l3, 2001 to
the present. See l'a’. 11 18. Plaintiffs now move for permission to give § 216(b) notice to potential
class members and for discovery of their contact information Complete opposes the motion,
contending it must be denied because a putative class has not been certified, not all plaintiffs are from
the same potential conditional class7 plaintiffs have only presented evidence of a potential class of
landscape laborers, their notice is uninformative and insufficient, and their request for private
employee information should be denied.

II
This court recently addressed a similar motion for class notice and discovery in Humphrl`es

v. Stream Internatl'onal, Inc., No. 3103-CV-1682-D (N.D. Tex. Feb. 13 , 2004) (Fitzwater, J.), setting

out the controlling jurisprudence:

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District courts have discretion to allow a party asserting FLSA claims
on behalf of others to notify potential plaintiffs that they may choose
to opt-in to the suit. Although the Fifch Circuit has not adopted a
particular standard to be used in determining whether to allow
notification, the prevailing test among the federal courts consists of
two stages: First, the court makes an initial inquiry into whether the
plaintiff has provided sufficient evidence of the existence of similarly-
situated potential plaintiffs At this stage, the court applies a lenient
standard If it determines that certification is appropriate, it usually
conditionally certifies the class Second, the court reexamines the
class after notice, time for opting in, and discovery have taken place.
If it finds that the class is no longer made up of similarly-situated
persons, then it may decertify the class This inquiry is usually
conducted in response to defendant’s motion Although the Fifth
Circuit has specifically declined to adopt a specific approach in
resolving the similarly situated inquiry under § 216(b), it has found no
abuse of discretion where a district court employed the prevailing
federal standard To establish that employees are similarly situated,
a plaintiff must show that they are similarly situated with respect to
their job requirements and with regard to their pay provisions The
positions need not be identical, but similar.

Slip op_ at 3 (citations and internal quotation marks omitted).
III
The court must first decide whether plaintiffs have provided sufficient evidence of the
existence of similarly-situated potential plaintiffs and whether a class should be conditionally

certified 1

 

1As in Humphrz'es, although the plaintiffs do not explicitly ask the court to conditionally certify
a class, they are necessarily doing so. See Ps. Br. at 8 (citing Mooney v. Aramco Servs. Co., 54 F.3d
1207, 1214 (Sth Cir. 1995), and noting that decision to allow notice typically results in conditional
certification of representative class). Moreover, in their reply brief, plaintiffs make pellucid that they
seek conditional class certification, noting, inter alia, that a motion for conditional class certification
is frequently made under the rubric of notice to potential class members See Ps. Rep. Br. at 2-3 &
2 n.3 (citing cases).

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A

Under the prevailing two-stage procedure, “[b]ecause the court has minimal evidence, [the
first] determination is made using a fairly lenient standard, and typically results in ‘conditional
certification’ of a representative class.” Mooney v. Aramco Servs. Co., 54 F.3d 1207, 1214 (5th Cir.
1995) (footnote omitted).2 “At the notice stage, ‘courts appear to require nothing more than
substantial allegations that the putative class members were together the victims of a single decision,
policy, or plan infected by discrimination ”’ Id. at 1214 n 8 (quoting Sperlz'ng v. Hoffman-La Roche,
Inc., 118 F.R.D. 392, 407 (D.N.J. 1988), aff’d in part and appeal dismissed in parl, 862 F.2d 439
(3d Cir.1988), aj ’d and remanded, 493 U.S. 165 (1989)). “To establish that employees are similarly
situated, a plaintiff must show that they are similarly situated with respect to their job requirements
and with regard to their pay provisions The positions need not be identical, but similar.” Barnett
v. Countrywide Credl`t Indus., Inc., 2002 WL 1023161, at *1 (N.D. Tex. May 21, 2002) (Lynn, J.)
(internal quotation marks and brackets omitted) (quoting Tucker v. Labor Leasl`ng, Inc., 872 F. Supp.
941, 947 (M.D. Fla_ 1994)).

Plaintiffs have adduced evidence that they and their coworkers performed similar job duties
in the form of manual labor that consisted of planting trees and turf`, installing sprinklers, cutting and

placing patio stones, mowing and edging lawns, operating weed eaters and leaf blowers, trimming

 

2At this point in Mooney, the panel was not adopting this principle but was instead reciting
the jurisprudence of the first of two lines of cases that address class certification procedure under the
Age Discrimination in Employment Act of 1967 (“ADEA”), 29 U.S.C. § 621 et seq. See Mooney,
54 F.3d at 1214. The ADEA incorporates relevant provisions of the FLSA. Id. at 1212. In Mooney
“the Fifth Circuit explicitly declined to adopt a specific approach.” Barnett v. Countrywl‘de Credl`l
Indus., Inc., 2002 WL 1023161, at *1 n.2 (N.D. Tex. May 21, 2002) (Lynn, J.).

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plants and planting flowers See Aguilar Decl. 11 6; Almanza Decl. 11 6; Gomez Decl. 11 6.3 Complete
required these laborers to work in excess of 40 hours per week. See Aguilar Decl. 11 2; Almanza
Decl. 11 2; Gomez Decl. 11 2. They were paid according to the “block rate” scheme, i.e., a fixed
amount for each block often hours worked See Aguilar Decl. 1111 3-4; Almanza Decl. 1111 3-4; Gomez
Decl. 1111 3-4. When they worked greater or fewer than ten hours, they were credited with a partial
“day” based on the number of hours worked See Aguilar Decl. 1111 3-4; Almanza Decl. 1111 3-4;
Gomez Decl. 1111 3-4. Under the “block rate” scheme, Complete paid the laborers the same hourly rate
for all hours worked Regardless of the number of hours worked, they never received overtime pay.
See Aguilar Decl. 11 5; Almanza Decl. 11 5; Gomez Decl. 11 5. Other Complete employees have not
been paid overtime compensation See Aguilar Decl. 1111 6-7; Almanza Decl. 1111 6-7; Gomez Decl.
1111 6-7.

Accordingly, applying, as it must, a lenient standard, the court holds that plaintiffs have made
sufficiently substantial allegations of the existence of similarly-situated potential plaintiffs and that

they have met the requirements for conditional certification of the class The court therefore

 

3The court is citing to paragraphs of declarations rather than to pages of plaintiffs’ appendix
because plaintiffs_and, for that matter7 Complete_did not comply with N.D. Tex. Civ. R. 7_ 1(i)(1)
and 7.2(e) in briefing this motion Rule 7.1(i)(1) provides that “[a] party who relies on documentary
(including an affidavit, declaration, deposition, answer to interrogatory, or admission) or non-
documentary evidence to support or oppose a motion must include such evidence in an appendix.”
Rule 7.2(e) states that “[i]f a party’s motion or response is accompanied by an appendix, the party’s
brief must include citations to each page of the appendix that supports each assertion that the party
makes concerning any documentary or non-documentary evidence on which the party relies to
support or oppose the motion.” The court has not ordered the motion re-briefed because it is
attempting to avoid delay in deciding the motion and because in Humphrl'es both parties likewise
failed to comply with these rules and the court overlooked the error. See Humphries, slip op. at 5
n3. The parties to this case are admonished to comply with these rules in briefing other motions in
this case. The court’s willingness to disregard this error in this case and in Humphrl'es is not an
indication that it will excuse similar failures in other cases that present motions of this type.

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conditionally certifies a class consisting of “[a]ll current and former laborers employed by [Complete
Landsculpture, Inc., Complete Landsculpture Properties, LLC, Complete Landsculpture of Texas,
LP, and Chris Strempek] who were paid using the ‘block rate’ scheme during the time period of April
13, 2001 to the present.” The court also authorizes plaintiffs to provide notice by mail to potential
class members Cf. Barnetl, 2002 WL 1023161, at *2 (concluding “that mailing the notice to the
potential class members . . . is sufficient to provide the potential opt-in plaintiffs with notice of the
suit.”).
B
1
Complete opposes plaintiffs’ motion on the ground that the court has not certified a putative
class This objection falls away because the court has now conditionally done so.
2
Complete complains that plaintiffs have not defined in their motion who is to be included in
the class In plaintiffs’ complaint, however, they have explicitly defined the class, see 2d Am. Compl.
11 18, and the court has conditionally certified it based on this definition
3
Complete maintains that plaintiffs have not shown that, outside of the general group of
landscapers mentioned in their declarations, there are any similarly- situated employees Plaintiffs have
limited their motion to current and former laborers who were paid using the “block rate” scheme.
In their reply brief, they limn their notice request to “workers performing landscaping duties who
were paid under the straight time for overtime scheme.” Ps Rep. Br. at 4. Complete’ s argument thus

lacks force.

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4

Complete also posits that plaintiffs must decide from which of the three corporate employers
they are seeking to draw the class, because they have not demonstrated that employees from different
employers can be similarly situated within the meaning of § 216(b). At the conditional certification
stage of the case, the court disagrees

In support of their reply brief`, plaintiffs have adduced evidence that Strempek is the President
and Director of Complete Landsculpture, Inc., and the registered agent for Complete Landsculpture
Properties, LLC and Complete Landsculpture of Texas, LP. See P. Rep. Br. Exs. 1-3. Complete
Landsculpture, Inc. is a member of Complete Landsculpture Properties, LLC. See id. Ex. 2.
Complete Landsculpture Properties, LLC is the general partner of Complete Landsculpture of Texas,
LP. See l`d. Ex. 3. Under the FLSA, there may be more than one employer of an employee, including
joint employers See, e.g., Anlenor v. D & S Farms, 88 F.3d 925, 929 (l lth Cir.1996). There is
precedent in this district for conditionally certifying an FLSA class that consists of employees of
related employers InAIba v. Loncar, 2004 WL 1144052 (N.D. Tex. May 20, 2004) (Ramirez, J.),
the court conditionally certified a common class of persons “employed by one of Defendants, at any
time since June 23, 2000.” Id. at *5 (emphasis added) (quoting order of Judge Lynn). The court can
determine at a later time whether defendants are joint employers See l`d. at *6 n.3 (“The Court notes
that, assuming the district court does not decertify the class, the district court will also make the legal
determination of whether Mr. Loncar is a joint employer of the employees of Brian Loncar, P.C. d/b/a
Brian Loncar & Associates.”).

The foregoing reasoning also applies to defendant Strempek. The FLSA definition of

employer is extremely broad and “includes any person acting directly or indirectly in the interest of

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an employer in relation to an employee and includes a public agency, but does not include any labor
organization (other than when acting as an employer) or anyone acting in the capacity of officer or
agent of such labor organization.” Id. at *6 (quoting 29 U.S.C. § 203(d)). The term “includes
individuals with managerial responsibilities and substantial control over the terms and conditions of
the [employee’s] work.” Id (internal quotation marks omitted) (quoting Lee v. Coahoma Counly,
937 F.2d 220, 226 (5th Cir. 1991)). Plaintiffs may be able to show under the FLSA definition that
Strempek is their employer, and the court can determine later whether he is See l'd. (holding that
court would at appropriate stage make legal determination of individual’s status as an employer). Of
course, if discovery shows that certain plaintiffs are not similarly situated due to differences in
employers, the court can decertify the class or can create subclasses See Rodolz`co v. Um`sys Corp. ,
199 F.R.D. 468, 484 (E.D.N.Y. 2001) (“If`, at a later point in the litigation, the Court finds that a
collective action cannot accommodate the proposed individual defenses, the Court has the discretion
to create subclasses or to dismantle the collective action.”) (addressing collective action under Age
Discrimination in Employment Act of 1967, 29 U.S.C. § 621 el seq.)).
C

Complete maintains that not all plaintiffs are from the same potential conditional class,
because on each crew there are employees with three different job descriptions foreman, lead man,
and laborer. lt posits that, if plaintiffs seek class certification, foremen and laborers should not be
included in the same class

According to Strempek, plaintiff Aguilar was a foreman and other listed potential plaintiffs
are laborers He avers that foremen must meet experience and skill requirements that do not apply

to laborers; that they have the ability to hire and fire employees, make recommendations concerning

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hiring, discipline7 and promotion decisions; that they have administrative responsibilities that laborers
do not share; and that they are paid more. Plaintiffs reply that the distinctions in the two jobs are
immaterial for purposes of this collective action, which is limited to workers who performed
landscaping duties and were paid under the “block rate” scheme. They argue that the differences will
not result in inaccurate damages calculations because the hours worked by each are readily
ascertainable based on objective criteria and there is no conflict of interest between foremen and
laborers

The court holds that no distinction should be made between foremen and laborers at the
conditional certification stage because they appear to be similarly situated in all relevant respects To
establish that plaintiffs are similarly situated employees, they must demonstrate that they are similarly
situated as to their job requirements and pay provisions The positions need to be similar, but not
identical Barnett, 2002 WL 1023161, at *1. “[A]n FLSA class determination is appropriate when
there is ‘a demonstrated similarity among the individual situations . . . some factual nexus which binds
the named plaintiffs and the potential class members together as victims of a particular alleged [policy
or practice].”’ Cral'n v. Helmerich and Payne Int ’l Drl'lll'ng Co., 1992 WL 91946, at *2 (E.D. La.
Apr. l6, 1992) (quoting Heagney v. European Am. Bank, 122 F.R.D. 125 (E.D.N.Y.l988)). “[A]
court can foreclose a plaintiffs right to proceed collectively only if ‘the action relates to specific
circumstances personal to the plaintiff rather than any generally applicable policy or practice. ”’ Id.
(quoting Burt v. Manville Sales Corp., 116 F.R.D. 276, 277 (D. Colo. 1987)). The claims of the
putative class members are similar in that they all complain of the same “block rate” scheme that
applied to them similarly_ In other words, they allege they were together the victims of a single plan

infected by discrimination See Mooney, 54 F.3d at 1214 n.8. While their duties may have differed

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and the hourly pay rate of foremen was slightly higher, they were compensated under the same
regimen This is not a case, for example, in which the defendants contend that foremen were exempt
employees or that they were paid under a different plan Thus under plaintiffs’ theory of the case, the
fact that foremen and laborers had somewhat different duties and rates of pay is immaterial See
Crain, 1992 WL 91946, at *3 (“But what matters is that the fundamental allegation_-that according
to company policy the time spent in job related meetings and training was uncompensated_is
common to all the [FLSA] plaintiffs and dominates each of their claims.”).
D

Complete also opposes plaintiffs’ motion on the ground that plaintiffs have only presented
evidence of a potential class of landscape laborers The arguments presented in support of this
contention are similar to those that the court has already rejected The evidence that plaintiffs have
introduced is sufficient to justify conditional class certification under the applicable lenient standard
Accordingly, the court declines to deny plaintiffs’ motion on this basis

IV

The court now turns to plaintiffs’ proposed notice. Complete objects to it as uninformative
and insufficient and offers an alternative notice form. Plaintiffs oppose one provision of Complete’s
proposed alternative form-that plaintiffs who join may be required to pay attorney’s fees and costs
if the suit is unsuccessful_but they state they are willing to work with Complete to draft a mutually
acceptable notice.

The court agrees that plaintiffs’ proposed notice is inadequate in several respects, but it rejects
Complete’ s suggestion that a fee shifting warning should be included Rather than address the defects

in detail, it will attach to this memorandum opinion and order copies of the notice and consent form

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it approved in Humphries and of its order approving the forms and the procedure for notifying
potential class members by mail. The Humphries documents should adequately apprise counsel of
the nature of forms the court is likely to approve The court directs that counsel confer and, within
20 days of the date this memorandum opinion and order is filed, submit a proposed notice and
consent form for the court’s consideration

Additionally, plaintiffs assert in their motion that many potential class plaintiffs are immigrant
laborers To ensure that the notice is adequate, the court directs that, once the court approves the
notice and consent forms, plaintiff`s’ counsel arrange for preparation of Spanish language versions7
obtain Complete’s counsel’s approval of those versions, and mail the English and Spanish versions
simultaneously to potential class members, giving them the option to execute the Spanish version of
the consent form.

V

Finally, Complete objects to plaintiffs’ request for discovery of the names, addresses, and
telephone numbers of potential class members It maintains that, if notice is given, Complete should
provide the notice rather than disclose this information to plaintiffs

The court will follow in this case the approach it adopted in Humphries. There, in response
to the plaintiff s request for discovery, the court required the defendant to provide plaintiff s counsel
the names and last known addresses of all potential class members, because notice of the collective
action was to be given by mail. See Humphries, slip op. at 7 . The court declined to require that the
defendants reveal, inter alia, the telephone numbers of potential class members The court reasoned
that “highly personal information about persons who may in fact have no interest in this litigation

should not be disclosed on the thin basis that [plaintiffs] counsel desires it.” Id. The court also

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concluded, inter alia, that the need for compelled disclosure of such data was outweighed by the
privacy interests of potential class members, and that there was no apparent reason to conclude that
sending a letter to the person’s last known address would be inadequate Id.

Accordingly, the court directs that, within 30 days of the date this memorandum opinion and
order is filed, Complete provide plaintiffs’ counsel the names and last known addresses of all persons
who fall within the conditionally certified class

* >i< *

For the reasons set out, plaintiffs’ August 9, 2004 motion for notice to potential class

members is granted in part and denied in part.

SO ORDERED.

October 2 , 2004.
erNEY A. Fer AT
UNITED sTATEs DIS RICT JUDGE

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§ Civil Action No. 3:03-€\/'-1682~1)
vs §
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S'YREAM iNTER:NATIONAL, YNC., §
et al., §
§
Defendants §

RDER

For the reasons stated in a memorandum opinion and order fried February f3, 2004, and
having considered the parties’ respective submissions the court approves the notice form and consent
form attached to this order At pfaintiff James I-Iumphries’ (“Humphrios”’) request, he may obtain
efectronic versions of these forms from the judicial secretary

Hum;)hries may provide the notice to ali current and former employees of Stream
Intemationa§, Inc. who were empioyed as trainers between Iuiy §8, 2001 to the present He may
immediateij provide notice to the persons whose names and addresses are to be provided by
defendants in accordance With the court’s Pebrnary 13, 2004 memorandum opinion and order.
Humphries may aiso send subsequent maii§ngs of the notice at his expense The consent form,
together with a staff-addressed stamped envelope, must be enclosed with tire notice Costs of the

notice are to be borne by Humphries.

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Potentiai plaintiffs must be provided until luna }5, 2004 to file a consent opting into this
litigationq unless good cause can be shown why the consent was not postmarked before the deadiiae.
f§umphries must notify defendants and the court by letter of the date or dates any notices are maiied.

30 ORDERED.
February ___i_€@ ,2004_

Y A. FITZW
UNI'I`EI) S'I`A'I'ES DISTRIC'I‘ JU`DGE

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IMP{)RTAN'I` NOTXCE TO PQTENTIAL CLASS MEMBER§

TO; ALL CURRENT AND FOR}V{ER EWLOYEES OF STREAM LNI`ERNA'IIONAL,
INC, WHO ARH GR WERE EMPLOYE§) AS TRAINERS BE'FWEEN JULY 38,
2901 AND TIIE PRESEN'I`

PRGM' "§“'[~TE LAW OFFICES OF IEVFREY H. RASANSKY, PC,, COUNS}::`L I*`OR
PLAI'N'I`IFF

RE. RIGHT TO JO}N LAWSUIT SEEK.!NG TO RE,COVER UNPAID OVERT§IV£E
COMPENSA'I`ION

DATB; {INSER'I` DATE OF NCTICE}

f. PURPGSE 05 NOTLCB

The pu!;)osc of this notice is to inform you ofthe existence of a coileotive action lawsuit in
w§zi<;h you may oe eligib¥e to participate because you may be “similarfy situate<§" to the named
piaintif§`. '£`his notice is also intended to advise you how your rights under the Fair Labor Standards
Act (“FZ.SA”) may be aftected by this iawsuit and to instruct you on the procedure for participating
in this suit, ifyou choose to do so. You have not been sued

2. DESCR§PTI{)N OF THE LAWSUH

james Humphries (“Hump§zries”) has sued Soieetmn Texas, Inc. afan Soioczron Corporation
(“Soleetron”) and Stream fntemationa£, ina (“Stream”) in the United States District Court for the
Northem District of Texas, Da§les Division The case haS been assigned Civil Action No. 3103~CV-
§682~1) and is pending on the docket of limited States District lodge Sidney A. Fitzwater, The
lawsuit aiieges that Stream and Soioetron failed to pay overtime compensation as required by the
FLSA, I~§umphries’ attorney in this case is:

Jeremi K.. Young (www.jr§awiirm.oom)
'}I`I{E LAW OFFICES OF JEFFREY ll RASANSKY, P.C.
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'f`oll~l?ree ’I`efephone: 866~949~l400
Faoslmile. 214~?49“10§0

Generai}y, the overtime provisions ofthe PLSA require thst, for oil hours over forty hours per
week that an employee works, the employer must pay site employee at the rate of one and one-half
times the employees regular hourly rate of pay, unless the employee is properly classified as
“exempt” from the overtime provisions ofthe FLSA Humplzr§es alleges in this lawsuit that during
one or more weeks of his employment with Stream auditor Solectrorl, he worked lo excess of forty
hours but was not paid overtime at the rate ofone and ooe-hall`times his hourly rate for the hours he
worked in excess of forty Homphries alleges that he was not properly paid for his overtime hours
beyond forty due to Stream andfor Solectron’s misclassification of trainers as “exernot” under the
FLSA, Homphries asserts that he worked more than forty hours per week but Was riot compensated
for atty hours beyond forty. Hurttphries is suing to recover unpaid overtime compensation for the
period from july 18, 2001 to the present, liquidated damages, a declaratory judgment, an award of
reasonable attorney’s fees, costs, and expert ses, and such other relief as the court may deem proper.

Stream and Soleotroo vigorously deny llumphries’ allegations and contend that Hurnphries
and the others who he contends are “similarly situated” are “exempt” end are not entitled to overtime
compensation under FLSA.

3. COMPOSITION C)F 'l'HE CLASS

Humpitries seeks to sue on behalf of himself and also on behaffofotiter empioyees with whom
he is similarly situated Those who Huxnphries alleges are similarly situated are all current end former
employees of Stream Who are or were employed as trainers from lon 13, 2001 to the present

’l"§zis notice is only for tire purpose of determining the identity ofthose persons who Wish to
be involved in this case and has no other purpose Your right to participate irl this suit may depend
upon a later decision by the United States District Court that you and Humolrries are actua£ly
“similarly situated,”

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4. YOUR RIGHT 'l"O PART}CIPATE B\l THIS LAWSU[T

if you fn the definition sbove, that is, you are currently or were formerly employed by Stream
as a trainer between lilly 18, 2001 and the present end you worked overtime hours for which you
were not compensated you may have a right to participate in this lawsuit

5. HOW TO PART{CIPATE IN THIS LAWSUYI`

Enclosed you will find a form entitled “Consent to Become Party Plztinti£i" (“Consent
i~`orm”). lf you choose to join this lawsuit, and thus to participate in any recovery that may result
from this lawsuit, it is extremely important that you rea<i, sign, and return the Censent Form.
A seit‘~addressed, postage»peid envelope is enclosed for your convenience Should the enclosed
envelope be lost or misplaced the Consent Forrn should be sent to:

Overtirne Lawsuit Agalnst Streein and Solectron
THE LAW OFFICES OF JEPFREY H. RASANSKY, P.C.
381l 'l`urtle Creek Blv<l.
Suite l640
Dallas, 'l‘exas 75219

"l`he signed Consent Form must be postmarked by lime l 5, 2004 It' your signed Consent Form is
not postmaer by Jtme I$, 260¢, you will not receive any of the potential money damages
recovered against Stream or Solectron in this lawsuit Il`you have any questions about filling out
or sending the Consent liorm, please contact Humphries’ counsel listed on page l of this notice

6, NO RE'I`ALIATION PERMITTED

lt is a violation of federal law for Stream or Solectron to discharge you, or in any manner
discriminate or retaliate against you, for taking part in this case if you believe you have been
penalized discriminated against, or disciplined in atty way as a result of receiving this notice,
considering whether to join this iawsuit, or actually joining this lawsuit, you should contact
Hurnphries’ counsel immediately

7. EFFECT OF IOINING THIS LAWSUIT

If you choose to join this lawsuit, you will be bound by the judgment, whether it is favorable
or unfavorable Yon Will also be bound hy, and will share in, any settlement that may l)e reached on
behalt`of the class

By joining this lawsuit you designate Hnmphries as your agent to make decisions on your

behalf concerning the litigation the method and manner of conducting the litigation the entering of
an agreement with llurnpltries’ counsel concerning attorney’s fees and eosts, and all other matters

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pertaining to the lawsuit Thcsc decisions and agreements made and entered imo by Humphries will
be binding on you i§` you Jioin this lawsuit

§{umphries has entered into a contingency fcc agreement with his counsel, which means that,
if there is no recovery there will be no anomey’s fees or costs charged to you. Ifthere is a recovei'y,
Humphries’ counsel will receive a part ofany Settlement obtained or money judgment entered in favor
of afl members of the class You may request a copy 05 the contingency fee agreement that
f-lurnphries signed in this matter from Humphries’ conn sci at the address oy telephone number that
appears on page § of this notice

If you join the lawsuit, whiic ihc lawsuit is pending, you may be required to provide
informa§ion about ycurseffand your ciaim, appear for a deposi£ion (answer attomeys’ ques!ions under
oath), and testify in court in Dallas, "l`exas.

8. N() LBGAL EP'PECT lN NG'I` IOINING THIS P.,AWSU§T

lfyou choose not to join this lawsuit, you Wi}l not be affected by any §odgment cr settlement
rendered in this case, whether favorable or unfavorab§e to the ciass. You will not be entitled to share
any amounts recovered by the class. You will be free to file your own iawsuit, sub§ect ¥o any
defenses that might be asserted The pendency ofthis suit wil§ not stop the running ofthe statute cf
Iimitations as to any claims you might have until you opt into this lawsuit

9. NO OPIN]ON E)G’RESSED AS 'I`O THE MERLTS OF §§ LAWSU!'I`

'£`his notice is being provided for the sole purpose of determining she identify of persons who
may be entitled to and wish to participate in this lawsuit Although the court has authorized
I~§urnphries’ counsel to Send this notice, the court expresses no opinion regarding the ments of
Hnm;)hn`es’ ciaims cf defendants’ iiai>ility, if any. Huxnphrics’ claims and the ciaims of any person
who joins the iawsuit may he snbjoc€ to fater dis:nissa§ if`ihe court finds that the ciaims lack merit or
that this lawsuit cannot he lizigated on a class~wide basis.

10. FURTHBR INFORMA'E`ION

Further information about this notice or the lawsuit may be ob¥ained from Humphries’ counsel
at the address or telephone number listed on page 1 of sins noticc.

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IN THE U§\'I“I'}ZD STA’I“E£S DISTR}C'¥` COURT
}"OR 'I`}{E NORTH.ERN DIS'I`R§C'I` {}P TEXAS
DALLAS DIVISEON

JAMES HUMPHRIES, On Behafi'of`
Himseif and Al¥ Others Siznilariy Sit:mted,

Plaintiff,
` Civi£ Action No. 3 :03 ~CV~ 'f 682~¥)
VS.

STREAM INTERNATIONAL, §NC.,
et ai.,

£0’1€0§¢03£¢'>€0300'3¢0"<03€0>€03£03

Defendants.
§§QN§EN'P f§(} §E§;QME BAR'I'Y PLA!NTLFF

By my signature befow, 1 hereby authorize the prosecu£ion ofthe above»styled Fair Laer
Standards Act action in my name and on my behai£` by James Humphries (“Humphries”), the
representative plaintiff and ciesignate him as my agent to make decisions on my behalf concerning
this §§tigation, including the method and manner of conducting the Eitigation, the entering of en
agreement with Hump§;ries’ counsel concerning attorney’s fees and cests, and all oiher matters
pertaining to she fewsuit.

1 understand that Hurnphries has entered ime a eon£ingeney fee agreement with The Law
0&`1¢es of Ie§`rey li. Rasansky, P.C., that applies to 331 plaintiffs who join this ansuit. If l join the
lawsuit, I agree te be bound by the contingency fee agreementv l understand met I may obtain a copy
ofthe contingency fee agreement on request

By choosing to §oin this lawsuit § understand that I will be bound by size judgment, whether
it is favorable er unfavorabfe. § wi§i also be bound by, and wi§l share in, as the court may direct, any
settiement that may be negotiated on behaif of aif plaintiffs.

ff l cheese nez so §oin this lawsuit, 1 acknowledge and understand that 1 will not be affected

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by any judgment rendered or settfement reached in this lawsuit, whether favorabfe or unfavorable and
l wif! not be entitled to share in any amounts recovered (whether by judgmen'£, sett§ement, or
otherwise) by Humphries or any other person who joins the lawsuit as a piaintifi`.

I hereby consent to join this lawsuit`

 

 

Signat;ure Date

PLEASE PR}NT 03 TYPE 'I“H}§ FOLLOWING £NF()RMATION:
Puii Legal Name;
Any Other Neme Used er Known By:
Maifing Address:
City, State, and Zip Cede:
Daytime Te}ephone:
Evening Te§ephone (Opt'lona¥);
Ceflular Telephone (optional):

E~Maii Address (optionaf).

